                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )          NO. 3:13-00097
                                             )          JUDGE SHARP
SAMMIE LANETTE CRUTCHER [22]                 )

                                           ORDER


      Pending before the Court is Defendant’s Motion to Continue Sentencing (Docket No. 659)

to which the Government does not oppose.

      The motion is GRANTED and the sentencing hearing set for October 27, 2014, is hereby

continued to Monday, November 24, 2014, at 10:30 a.m.

      It is so ORDERED.




                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00097     Document 673        Filed 09/22/14   Page 1 of 1 PageID #: 1834
